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     Attorneys for Plaintiff
12
                                UNITED STATES DISTRICT COURT
13                                   DISTRICT OF NEVADA

14                                                )
     RICHARD ZEITLIN, UNIFIED DATA                )
15
     SERVICES, LLC, COMPLIANCE                    )
16   CONSULTANTS, LLC, and AMERICAN               )
     TECHNOLOGY SERVICES, LLC,                    )
17                                                )
18                Plaintiffs,                     )
                                                  )
19         v.                                     )   Case No. 2:19-cv-00698
                                                  )
20   UNITED STATES                                )
21   FEDERAL TRADE COMMISSION,                    )
                                                  )
22   600 Pennsylvania Avenue, N.W.                )
     Washington, D.C. 20580,                      )
23                                                )
24                Defendant.                      )
                                                  )
25
                         CERTIFICATE OF INTERESTED PARTIES
26
27         COMES NOW, the Plaintiffs, Richard Zeitlin, Unified Data Services, LLC,

28   Compliance Consultants, LLC, and American Technology Services, LLC, who file this


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        Case 2:19-cv-00698-JCM-VCF Document 4 Filed 05/02/19 Page 2 of 3



 1   certificate pursuant to LR 7.1-1, through their attorneys of record Joel Hansen, Esq.
 2
     and Robert G. Bernhoft, Esq. (pro hac vice application to be filed) and certify that the
 3
     following have a direct, pecuniary interest in the outcome of this case:
 4
           Richard Zeitlin
 5
           Unified Data Services, LLC
 6         Compliance Consultants, LLC
           American Technology, LLC
 7
           Respectfully submitted this 2nd day of May, 2019.
 8

 9
                                                     Respectfully submitted by:
10
                                                     HANSEN & HANSEN, LLC
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                                                     Attorneys for the Plaintiffs
12
                                                      /s/ Joel F. Hansen
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                                                     THE BERNHOFT LAW FIRM, S.C.
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                                                     Attorneys for the Plaintiffs
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                                                      /s/ Robert G. Bernhoft
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        Case 2:19-cv-00698-JCM-VCF Document 4 Filed 05/02/19 Page 3 of 3



 1                               CERTIFICATE OF SERVICE
 2
           The undersigned hereby certifies that this document will be served on the
 3
     Defendant by mailing the same by U.S. Mail first-class postage prepaid to:
 4

 5
     William Barr, U.S. Attorney General
 6   Attn: Civil Process Clerk
     U.S. Department of Justice
 7   950 Pennsylvania Avenue, NW
     Washington, DC 20530-0001
 8

 9   Nicholas A. Trutanich, U.S. Attorney
     Attn: Civil Process Clerk
10   U.S. Attorney’s Office, District of Nevada
     501 Las Vegas Boulevard South
11
     Suite 1100
12   Las Vegas, NV 89101

13   Federal Trade Commission
     Attn: Civil Process Clerk
14
     600 Pennsylvania Avenue, NW
15   Washington, DC 20580

16
           DATED this this 2nd day of May, 2019.
17

18                             THE BERNHOFT LAW FIRM, S.C.
                               Attorneys for the Plaintiffs
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21                              /s/ Robert G. Bernhoft
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